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                               UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF SOUTH CAROLINA


       In re: RJM WASTE EQUIPMENT COMPANY                            §   Case No. 07-04276-JW
                                                                     §
               RJM MANUFACTURING COMPANY                             §
   Debtor(s)                                                         §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

          JOHN K FORT, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $1,726,170.00                       Assets Exempt: $0.00
 (without deducting any secured claims)
 Total Distribution to Claimants: $0.00               Claims Discharged
                                                      Without Payment: $5,816,155.33

 Total Expenses of Administration: $49,138.79


         3) Total gross receipts of $ 49,138.79 (see Exhibit 1 ), minus funds paid to the debtor
and third parties of $       0.00     (see Exhibit 2 ), yielded net receipts of $49,138.79
from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS             CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED           ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                     $2,904,759.00      $1,820,657.26       $125,934.23              $0.00
 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                          0.00          12,895.29        213,895.29          49,138.79

   PRIOR CHAPTER
   ADMIN. FFES AND
   CHARGES (fromExhibit 5)               629,903.10         142,927.84        142,927.84               0.00
   PRIORITY UNSECURED
   CLAIMS (fromExhibit 6 )               628,915.02         796,236.07        796,236.07               0.00
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                4,470,491.04       3,767,081.49       3,769,442.33              0.00
                                      $8,634,068.16      $6,539,797.95      $5,048,435.76        $49,138.79
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 11 on August 08, 2007
  and it was converted to Chapter 7 on December 13, 2007.The case was pending for 45 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 04/26/2011                 By: /s/JOHN K FORT
                                                Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                EXHIBITS TO
                                                              FINAL ACCOUNT



EXHIBIT 1            GROSS RECEIPTS

                                                                                         UNIFORM                            $ AMOUNT
               DESCRIPTION
                                                                                        TRAN. CODE 1                        RECEIVED
     LIQUIDATED DEBTS OWING DEBTOR                                                     1129-000                              2,300.00

     MISC REFUNDS                                                                      1221-000                              9,670.29

     SETTLEMENTS                                                                       1249-000                             10,000.00

     PREFERENCE/FRAUDULENT TRANSFER                                                    1241-000                             27,113.54

     Interest Income                                                                   1270-000                                 54.96


    TOTAL GROSS RECEIPTS                                                                                                    $49,138.79

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2            FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                         UNIFORM                            $ AMOUNT
        PAYEE                                     DESCRIPTION
                                                                                        TRAN. CODE                             PAID
                                                                  None

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                         $0.00
    PARTIES

EXHIBIT 3            SECURED CLAIMS


                                                     UNIFORM          CLAIMS
       CLAIM                                                         SCHEDULED               CLAIMS               CLAIMS         CLAIMS
        NO.               CLAIMANT                    TRAN.           (from Form            ASSERTED             ALLOWED          PAID
                                                      CODE                6D)
           1     GMAC                                 4210-000            N/A                    4,333.69            0.00                0.00

           2     Carolina First Bank                  4210-000             16,000.00             7,652.13            0.00                0.00

          15S-2 Kentucky Department of                4800-000            N/A                    1,053.94            0.00                0.00
                Revenue
          42    GENERAL PURPOSE STEEL INC             4210-000            N/A                    7,696.84            0.00                0.00

          48     COMMUNITY SOUTH BK AND TRUST 4210-000                   135,300.00           142,110.24             0.00                0.00

          85     Toyota Motor Credit Corp             4210-000            N/A                  52,418.34             0.00                0.00

          92     NMHG FINANCIAL SERVICES              4210-000            N/A                  15,609.52             0.00                0.00

          97     Appalachian Development              4210-000             60,616.00           58,675.53             0.00                0.00
                 Corporation



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     106    Financial Federal Credit     4210-000       53,090.00       53,168.88            0.00          0.00
            Inc.
     117    FORT HILL NATURAL GAS        4210-000      N/A               5,391.27            0.00          0.00

     145S   South Carolina Department of 4210-000      N/A               1,209.99            0.00          0.00
            Reveune
     149    Wachovia Bank, N.A.          4210-000    1,300,000.00    1,337,253.66            0.00          0.00

     161    KEY EQUIPMENT FINANCE        4210-000       62,500.00      125,934.23      125,934.23          0.00

     164    FORREST ANDERSON PLUMBING    4210-000      N/A                 981.00            0.00          0.00

     187S   Mississippi State Tax        4800-000      N/A               7,168.00            0.00          0.00
            Commission
 NOTFILED   WELLS FARGO                  4110-000      777,253.00       N/A                N/A             0.00

 NOTFILED   RON MCCRACKEN                4210-000      500,000.00       N/A                N/A             0.00


 TOTAL SECURED CLAIMS                               $2,904,759.00   $1,820,657.26     $125,934.23         $0.00



EXHIBIT 4        CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                        UNIFORM
    PAYEE                                            CLAIMS           CLAIMS           CLAIMS       CLAIMS
                                         TRAN.
                                                    SCHEDULED        ASSERTED         ALLOWED        PAID
                                         CODE
 MCABEE, TALBERT, HALLIDAY & CO          3410-000      N/A               1,080.00        1,080.00     1,080.00

 JOHN K FORT                             2100-000      N/A               5,628.36        5,628.36     5,628.36

 RONALD J MCCRACKEN                      2990-800      N/A                     0.00    201,000.00    36,243.50

 JOHN K FORT                             2200-000      N/A               1,054.01        1,054.01     1,054.01

 U. S. Trustee                           2950-000      N/A               5,000.00        5,000.00     5,000.00

 JOHN K. FORT, TRUSTEE                   2300-000      N/A                    77.86         77.86         77.86

 JOHN K. FORT, TRUSTEE                   2300-000      N/A                    55.06         55.06         55.06

 TOTAL CHAPTER 7 ADMIN. FEES                           N/A              12,895.29      213,895.29    49,138.79
 AND CHARGES


EXHIBIT 5        PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                        UNIFORM
    PAYEE                                            CLAIMS           CLAIMS           CLAIMS       CLAIMS
                                         TRAN.
                                                    SCHEDULED        ASSERTED         ALLOWED        PAID
                                         CODE
 G. WILLIAM MCCARTHY, JR                 6210-160      N/A              36,916.25       36,916.25          0.00

 G. WILLIAM MCCARTHY, JR                 6220-170      N/A               1,810.32        1,810.32          0.00

 FW INVESTMENTS                          6920-000      N/A              75,129.12       75,129.12          0.00

 ARIZONA LOGISTICS, INC                  6990-000      N/A               6,731.35        6,731.35          0.00

 CHUCK DAVIS                             6950-720      N/A               8,900.80        8,900.80          0.00

 GEORGE B. CHANDLER, JR                  6950-720      N/A               3,000.00        3,000.00          0.00




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 MISSISSIPPI STATE TAX COMMISSION         6950-000   N/A           10,440.00    10,440.00         0.00

 A AMERICAN DRAIN INC                     6910-000   N/A                0.00                      0.00

 ACTION FREIGHT SERVICES LLC              6910-000   N/A                0.00                      0.00

 AFLAC                                    6910-000   N/A                0.00                      0.00

 CO2 DIRECT, AIR GAS EAST                 6910-000   N/A                0.00                      0.00

 ALABAMA DEPT OF REVENUE                  6950-000   N/A                0.00                      0.00

 ALATAX INC                               6950-000   N/A                0.00                      0.00

 ALG LABELS AND GRAPHICS                  6910-000   N/A                0.00                      0.00

 ANDERSON TRANS AND LOGISTICS             6910-000   N/A                0.00                      0.00

 AQUA CHILL                               6910-000   N/A                0.00                      0.00

 ARKANSAS DEPT OF FINANCE                 6950-000   N/A                0.00                      0.00

 ATF TRUCKING LLC                         6910-000   N/A                0.00                      0.00

 ARIZONA EXTERMINATOR                     6910-000   N/A                0.00                      0.00

 ALLIED WASTE SERVICES NO 753             6910-000   N/A                0.00                      0.00

 NMHG FINANCIAL SERVICES                  6910-000   N/A                0.00                      0.00

 BETONS TRUCKING                          6910-000   N/A                0.00                      0.00

 BRADY DISTRIBUTING                       6910-000   N/A                0.00                      0.00

 CAROLINA PEST CONTROL SERV               6910-000   N/A                0.00                      0.00

 CAROLINA FIRE                            6910-000   N/A                0.00                      0.00

 CINTAS FIRST AID AND SAFETY              6910-000   N/A                0.00                      0.00

 CINTAS CORP NO 216                       6910-000   N/A                0.00                      0.00

 ARIZONA DEPT OF REVENUE                  6950-000   N/A                0.00                      0.00

 CITY OF BIRMINGHAM                       6950-000   N/A                0.00                      0.00

 CITY OF MONTGOMERY                       6950-000   N/A                0.00                      0.00

 CITY OF MOBILE                           6950-000   N/A                0.00                      0.00

 DEPT OF REVENUE SERVICES                 6950-000   N/A                0.00                      0.00

 ONE COMMUNICATIONS                       6910-000   N/A                0.00                      0.00

 CROSS COMPANY                            6910-000   N/A                0.00                      0.00

 CSC                                      6910-000   N/A                0.00                      0.00

 D AND L TRANSPORT LLC                    6910-000   N/A                0.00                      0.00

 DAYSTAR AND CO TRUCKING                  6910-000   N/A                0.00                      0.00

 DILIGENT DELIVERY SYSTEMS                6910-000   N/A                0.00                      0.00

 DEBBIE LYDA                              6910-000   N/A                0.00                      0.00

 EASLEY PROG AND POWERSVILLE              6910-000   N/A                0.00                      0.00

 EMERALD WASTE SERVICES                   6910-000   N/A                0.00                      0.00


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 FASTENAL COMPANY                        6910-000   N/A               0.00                       0.00

 FEDEX                                   6910-000   N/A               0.00                       0.00

 FEDERAL TRANSPORTATION SERVICE CORP     6910-000   N/A               0.00                       0.00

 4PLEX LOGOSTICS LLC                     6910-000   N/A               0.00                       0.00

 FRAZEE INDUSTRIES INC                   6910-000   N/A               0.00                       0.00

 FREEMAN GAS                             6910-000   N/A               0.00                       0.00

 FW INVESTMENTS                          6910-000   N/A               0.00                       0.00

 GLASSRATNER ADVISORY AND CAPITAL        6910-000   N/A               0.00                       0.00

 GREATAMERICA LEASING CORP               6910-000   N/A               0.00                       0.00

 GEORGIA DEPT OF REVENUE                 6950-000   N/A               0.00                       0.00

 GREATER BAY CAPITAL                     6910-000   N/A               0.00                       0.00

 GRINDING EQUIPMENT AND TOOLING          6910-000   N/A               0.00                       0.00

 GTI TRANSPORT                           6910-000   N/A               0.00                       0.00

 HODGE PRODUCTS INC                      6910-000   N/A               0.00                       0.00

 PAUL HUNT'S MINI STORAGE                6910-000   N/A               0.00                       0.00

 RBH CAPITAL LLC                         6910-000   N/A               0.00                       0.00

 KEARNS BUSINESS SOLUTIONS               6910-000   N/A               0.00                       0.00

 LENZ CORPORATION                        6910-000   N/A               0.00                       0.00

 LOWE'S HOME CENTERS INC                 6910-000   N/A               0.00                       0.00

 TRAVIS A HULSEY                         6950-000   N/A               0.00                       0.00

 COMPTROLLER OF MARYLAND                 6950-000   N/A               0.00                       0.00

 MATERIAL HANDLING SOLUTIONS             6910-000   N/A               0.00                       0.00

 MCNAUGHTON-MCKAY                        6910-000   N/A               0.00                       0.00

 M J LOGISTICS                           6910-000   N/A               0.00                       0.00

 MKS SERVICES LLC                        6910-000   N/A               0.00                       0.00

 NATIONAL FIRE CONTROL                   6910-000   N/A               0.00                       0.00

 NEW ENGLAND IND SUPPLY                  6910-000   N/A               0.00                       0.00

 SPRINT                                  6910-000   N/A               0.00                       0.00

 MOBILE COUNTY                           6950-000   N/A               0.00                       0.00

 NC DEPT OF REVENUE                      6950-000   N/A               0.00                       0.00

 NEW JERSEY DIV OF REVENUE               6950-000   N/A               0.00                       0.00

 PICKENS COUNTY TREASURER                6950-000   N/A               0.00                       0.00

 NORTHEAST UTILITIES                     6910-000   N/A               0.00                       0.00

 NU-LIFE ENVIRONMENTAL INC               6910-000   N/A               0.00                       0.00

 OVERHEAD DOOR CO OF GREENVILLE          6910-000   N/A               0.00                       0.00


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 PATTERSON ENTERPRISES LLC                 6910-000   N/A               0.00                       0.00

 PAUL'S TEMPE HARDWARE                     6910-000   N/A               0.00                       0.00

 PLUMLEY TRUCKING INC                      6910-000   N/A               0.00                       0.00

 PLUMMER AND ASSOC                         6910-000   N/A               0.00                       0.00

 PRE-PAID LEGAL SERVICES INC               6910-000   N/A               0.00                       0.00

 RAY AND SHERI TRUCKING INC                6910-000   N/A               0.00                       0.00

 NORMAN RAY                                6910-000   N/A               0.00                       0.00

 MCCARTHY LAW FIRM, LLC                    6210-160   N/A               0.00                       0.00

 RONALD J MCCRACKEN                        6910-000   N/A               0.00                       0.00

 RONALD J MCCRACKEN, LANDLORD              6910-000   N/A               0.00                       0.00

 SRP                                       6910-000   N/A               0.00                       0.00

 STAPLES                                   6910-000   N/A               0.00                       0.00

 STOKES LAZARUS AND CARMICHAEL             6910-000   N/A               0.00                       0.00

 SUN ENERGY PROPANE COMPANY                6910-000   N/A               0.00                       0.00

 SWIGER AND ASSOCIATES                     6910-000   N/A               0.00                       0.00

 SC DEPT OF REVENUE                        6950-000   N/A               0.00                       0.00

 ST CLAIR COUNTY TAX RETURN                6950-000   N/A               0.00                       0.00

 CITY OF TEMPE                             6950-000   N/A               0.00                       0.00

 TENNESSEE DEPT OF REVENUE                 6950-000   N/A               0.00                       0.00

 TOP ECHELON CONTRACTING INC               6910-000   N/A               0.00                       0.00

 TOYOTA MOTOR CREDIT CORP                  6910-000   N/A               0.00                       0.00

 TRIGGER POINT TRANSFER LLC                6910-000   N/A               0.00                       0.00

 UNITED ELECTRIC CONTROLS CO               6910-000   N/A               0.00                       0.00

 UNIQUE TRANSPORTATION LLC                 6910-000   N/A               0.00                       0.00

 UPS                                       6910-000   N/A               0.00                       0.00

 VALLEY GAS AND GEAR LLC                   6910-000   N/A               0.00                       0.00

 VISION SCREENPRINTING AND GRAPHICS        6910-000   N/A               0.00                       0.00

 WARDLAW TRUCKING INC                      6910-000   N/A               0.00                       0.00

 WESTERN EXPRESS INC                       6910-000   N/A               0.00                       0.00

 WOLF TECHNOLOGY GROUP                     6910-000   N/A               0.00                       0.00

 XO COMMUNICATIONS LLC                     6910-000   N/A               0.00                       0.00

 JAMES GODFERY                             6950-720   N/A               0.00                       0.00

 CHARLES CLARK                             6950-720   N/A               0.00                       0.00

 DANNY TUNNELL                             6950-720   N/A               0.00                       0.00

 RONALD MCCRACKEN                          6950-720   N/A               0.00                       0.00


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 RONALD MCCRACKEN                            6950-720      N/A                      0.00                      0.00

 MONITRONICS INC                             6910-000      N/A                      0.00                      0.00

 NUVOX COMMUNICATIONS OF SC                  6910-000      N/A                      0.00                      0.00

 JERRY SPAYDE                                6910-000      N/A                      0.00                      0.00

 CITY OF TEMPE                               6910-000      N/A                      0.00                      0.00

 TPM                                         6910-000      N/A                      0.00                      0.00

 TOTAL PRIOR CHAPTER ADMIN.                                N/A              142,927.84     142,927.84         0.00
 FEES AND CHARGES


EXHIBIT 6        PRIORITY UNSECURED CLAIMS


                                           UNIFORM       CLAIMS           CLAIMS
   CLAIM                                                SCHEDULED        ASSERTED           CLAIMS      CLAIMS
    NO.             CLAIMANT                TRAN.       (from Form      (from Proofs of    ALLOWED       PAID
                                            CODE            6E)              Claim)
        10    CITY OF MONTGOMERY             5800-000       3,519.00             967.72        967.72         0.00

        15P-2 Kentucky Department of         5800-000       7,026.00           3,442.88      3,442.88         0.00
              Revenue
        77P-2 SMITH PIPE & STEEL COMPANY     5200-000      N/A              223,434.98     223,434.98         0.00

        80P   CHUCK DAVIS                    5300-000            0.00          9,902.40      9,902.40         0.00

        90P   NORTH CAROLINA DEPARTMENT OF 5800-000        29,626.00         18,009.11      18,009.11         0.00
              REVENUE
        91    CITY OF BATON ROUGE          5800-000         3,047.12           8,916.00      8,916.00         0.00

       100P   PPG ARCHITECTURAL FINISHES     5200-000      N/A               25,179.92      25,179.92         0.00
              INC
       101P   ARIZONIA DEPT OF REVENUE       5800-000     166,523.00        153,678.51     153,678.51         0.00

       104P-3 INTERNAL REVENUE SERVICE       5800-000      N/A                 6,698.56      6,698.56         0.00

       105P   Florida Department of          5800-000      10,628.00         12,598.44      12,598.44         0.00
              Revenue
       111    STATE OF ALABAMA               5800-000      10,201.67           1,703.86      1,703.86         0.00

       112    STATE OF ALABAMA               5800-000      10,201.67             110.14        110.14         0.00

       113    STATE OF ALABAMA               5800-000      10,201.66           1,569.29      1,569.29         0.00

       115P   TENNESSEE DEPT OF REVENUE      5800-000      14,713.00           6,435.71      6,435.71         0.00

       133    CITY OF MOBILE                 5800-000       2,181.23           2,578.97      2,578.97         0.00

       141P   State of Maine Bureau or       5800-000       1,168.00           1,076.85      1,076.85         0.00
              Revenue Services
       144P   INTERNAL REVENUE SERVICE       5800-000      N/A              101,809.56     101,809.56         0.00

       145P   South Carolina Department of 5800-000        33,982.93         22,174.49      22,174.49         0.00
              Reveune
       146P   FASTENAL COMPANY             5200-000        N/A                 4,780.56      4,780.56         0.00

       156P   GEORGIA, DEPARTMENT OF         5800-000     123,612.00        122,513.05     122,513.05         0.00
              REVENUE
       168    BALANCE STAFFING SVC INC       5200-000      N/A                 7,990.45      7,990.45         0.00

       180    CITY OF TEMPE                  5800-000      39,673.00         47,664.62      47,664.62         0.00




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     187P   Mississippi State Tax        5800-000      50,040.00         13,000.00       13,000.00         0.00
            Commission
 NOTFILED   ADMINISTRATION OF            5200-000          244.04         N/A                N/A           0.00
            UNEMPLOYMENT COMPENSATION
 NOTFILED   ALATAX INC                   5200-000      11,309.00          N/A                N/A           0.00

 NOTFILED   LOUISIANNA DEPT OF REVENUE   5200-000          108.00         N/A                N/A           0.00
            SALES TAX DIVISION
 NOTFILED   MOBILE COUNTY                5200-000       2,440.00          N/A                N/A           0.00

 NOTFILED   NATCHITOCHES TAX COMMISSION 5200-000           634.34         N/A                N/A           0.00

 NOTFILED   ST CLAIRE COUNTY TAX RETURN 5200-000        1,465.00          N/A                N/A           0.00

 NOTFILED   STATE OF ARKANSAS SALES AND 5200-000        2,238.00          N/A                N/A           0.00
            USE TAX SECTION
 NOTFILED   VIRGINIA DEPT OF TAXATION   5200-000        6,093.00          N/A                N/A           0.00

 NOTFILED   CONNECTICUT DEPARTMENT OF    5800-000      72,985.00          N/A                N/A           0.00
            REVENUE SERVICES
 NOTFILED   WILLIAM B ADKINS             5300-000       1,094.40          N/A                N/A           0.00

 NOTFILED   DANNY JAMES                  5300-000       3,608.00          N/A                N/A           0.00

 NOTFILED   DEBORAH LYDA                 5300-000          767.00         N/A                N/A           0.00

 NOTFILED   TROY MCGOWENS                5300-000       1,200.00          N/A                N/A           0.00

 NOTFILED   DAVID MCINTURFF              5300-000       1,779.68          N/A                N/A           0.00

 NOTFILED   DANNY TUNNELL                5300-000       1,534.00          N/A                N/A           0.00

 NOTFILED   SCOTT WEAVER                 5300-000       1,029.28          N/A                N/A           0.00

 NOTFILED   CHARLES CLARK                5300-000          767.00         N/A                N/A           0.00

 NOTFILED   TIMOTHY GENTRY               5300-000       1,275.00          N/A                N/A           0.00

 NOTFILED   GEORGE B. CHANDLER, JR       5300-000       2,000.00          N/A                N/A           0.00

 TOTAL PRIORITY UNSECURED                             628,915.02        796,236.07      796,236.07         0.00
 CLAIMS


EXHIBIT 7     GENERAL UNSECURED CLAIMS


                                         UNIFORM     CLAIMS           CLAIMS
   CLAIM          CLAIMANT                TRAN.     SCHEDULED        ASSERTED            CLAIMS      CLAIMS
    NO.                                             (from Form      (from Proofs of     ALLOWED       PAID
                                          CODE          6F)              Claim)
       3    56 INDUSTRIES INC/Kerry     7100-000      499,228.49        511,888.87      511,888.87         0.00
            Steel Inc
       4    PRECISION METAL FABRICATORS 7100-000           332.50            332.50         332.50         0.00

       5    SAFETY SUPPLY SOUTH INC      7100-000           52.63               52.63        52.63         0.00

       6    GENERAL TRANSPORTATION SERV 7100-000        4,400.00           8,500.00       8,500.00         0.00
            IN
       7    PALMETTO STATE LOGISTICS INC 7100-000       1,506.24           1,506.24       1,506.24         0.00

       8    BESL TRANSFER COMPANY        7100-000       4,470.20           4,470.20       4,470.20         0.00

       9    SPARTAN FILTERING SYSTEMS    7100-000       4,548.00           4,548.00       4,548.00         0.00

      11    METRO ANESTHESIA CONSULTANTS 7100-000          900.00            900.00         900.00         0.00




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     12    SOUTHEASTERN DOCK AND DOOR    7100-000          750.00       750.00       750.00         0.00

     13    GOSNELL MENARD BROOKS CPA'S 7100-000      21,600.00       21,600.00    21,600.00         0.00

     14    JC PACIFIC CO INC             7100-000    10,999.50       12,658.50    12,658.50         0.00

     15U-2 Kentucky Department of        7100-000    N/A                380.14       380.14         0.00
           Revenue
     16    XO COMMUNICATIONS INC         7100-000     1,157.90        1,890.72     1,890.72         0.00

     17    HEALTHPOINT OF NORTH          7100-000          961.32     1,601.71     1,601.71         0.00
           CAROLINA
     18    NU-LIFE ENVIRONMENTAL INC     7100-000    68,746.48       71,729.16    71,729.16         0.00

     19    DESTINATIONS EXPRESS INC      7100-000     1,050.00       N/A              N/A           0.00

     20    The Mason and Dixon Lines     7100-000    N/A             22,411.00    22,411.00         0.00

     21    ULINE                         7100-000          356.54       356.54       356.54         0.00

     22    SHEBOYGAN PAINT COMPANY       7100-000    N/A                689.21       689.21         0.00

     23    ROSENBOOM MACHINE AND TOOL    7100-000    22,896.72       22,896.72    22,896.72         0.00

     24    R AND L CARRIERS INC          7100-000     2,082.69        6,617.36     6,617.36         0.00

     25    RIGGERS SERVICE INC           7100-000     3,019.00        3,019.00     3,019.00         0.00

     26    CENTENNIAL STEEL              7100-000    40,826.58       40,826.58    40,826.58         0.00

     27    JLT ENTERPRISES INC           7100-000    17,338.00       17,338.00    17,338.00         0.00

     28    ANDERSON TRANS AND LOGISTICS 7100-000     23,350.20       28,125.20    28,125.20         0.00

     29    MOORE TRANSPORTATION INC      7100-000     5,965.00        5,965.00     5,965.00         0.00

     30    PAULS TEMPE HARDWARE          7100-000          953.62     1,022.39     1,022.39         0.00

     31    CROSS COMPANY                 7100-000    11,006.29       11,987.02    11,987.02         0.00

     32    MCNAUGHTON MCKAY              7100-000    45,008.49       44,819.98    44,819.98         0.00

     33    UNITED ELECTRIC CONTROLS CO 7100-000       1,375.00        2,445.59     2,445.59         0.00

     34    CHEETAH TRANSPORTATION        7100-000     1,118.00        1,118.00     1,118.00         0.00

     35    ADVANCED RIGGING AND MACH     7100-000     1,900.00        1,900.00     1,900.00         0.00

     36    ESTES EXPRESS LINES           7100-000          263.71       263.71       263.71         0.00

     37    MAGNELINK INC                 7100-000     1,378.00        2,305.00     2,305.00         0.00

     38    WELCO INC                     7100-000          560.00     1,288.00     1,288.00         0.00

     39    RDJ SERVICES INC              7100-000          650.00       650.00       650.00         0.00

     40 -2 STRATFORD TRANSPORTATION      7100-000     1,950.00        1,974.81     1,974.81         0.00

     41    AUSTIN HARDWARE AND SUPPLY    7100-000          439.12       439.12       439.12         0.00

     43    Universal Am-Can Ltd          7100-000          750.00       750.00       750.00         0.00

     44    MESA MACHINERY SALES LLC      7100-000          159.59       159.59       159.59         0.00

     45    COFFEY AND SONS INC           7100-000     1,775.00        1,775.00     1,775.00         0.00

     46    ALLEN-ORTON LLC               7100-000    11,524.48        8,640.76     8,640.76         0.00

     47    M-COR STEEL INC               7100-000   190,928.39      194,282.57   194,282.57         0.00


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     49    COMBINED UTILITIES             7100-000     1,407.88       2,794.91    2,794.91           0.00

     50    DISCOUNT SWEEPING              7100-000          261.00    1,011.00    1,011.00           0.00

     51    BEELINE INC                    7100-000          625.00      625.00      625.00           0.00

     52    CITY OF TEMPLE, ARIZONA        7100-000            0.00   35,700.54   35,700.54           0.00

     53    RAMSEUR TRUCKING               7100-000    28,903.00      28,903.00   28,903.00           0.00

     54    HYDRAULIC AND PNEUMATIC        7100-000     4,208.27       4,208.27    4,208.27           0.00

     55    AQUA CHILL INC NO 4            7100-000          151.34      227.01      227.01           0.00

     56    WOLF TECHNOLOGY GROUP          7100-000          367.50      367.50      367.50           0.00

     57    DIPPLE PLUMBING INC            7100-000          300.68      300.68      300.68           0.00

     58    PRECISION METAL FABRICATORS 7100-000       N/A               332.50      332.50           0.00

     59    AURORA MANAGEMENT PARTNERS     7100-000    10,000.00      19,397.15   19,397.15           0.00

     60    THOM MARTIN                    7100-000     3,421.09       3,421.09    3,421.09           0.00

     61    RELIANCE STEEL AND ALUMINUM 7100-000       41,503.03      41,503.03   41,503.03           0.00

     62    ROYAL INDEMNITY CO             7100-000            0.00   44,587.13   44,587.13           0.00

     63    WESTERN EXPRESS INC            7100-000     8,475.00       8,475.00    8,475.00           0.00

     64    BDI                            7100-000     1,756.13       3,365.55    3,365.55           0.00

     65    RAMSEY WELDING SUPPLY INC      7100-000     2,525.36       2,525.36    2,525.36           0.00

     66    EMS INC                        7100-000    47,060.50      61,826.88   61,826.88           0.00

     67    THE CONNECTICUT LIGHT AND      7100-000    N/A               300.00      300.00           0.00
           POWER COMPANY
     68    CONTAINER COMPONENTS INC       7100-000    16,483.37      49,578.88   49,578.88           0.00

     69    ALG LABELS AND GRAPHICS        7100-000     1,283.32         130.45      130.45           0.00

     70    GREATAMERICA LEASING           7100-000          483.64    7,052.66    7,052.66           0.00
           CORPORATION
     71    FACILITY SUPPORT SERVICES      7100-000     4,502.33       4,502.33    4,502.33           0.00
           LLC
     72    GLOBENET METALS LLC            7100-000    44,376.06      44,376.06   44,376.06           0.00

     73    FALVEY LINEN AND UNIFORM       7100-000    N/A            N/A                0.00         0.00

     74    ELECTRICAL WHOLESALERS INC     7100-000     1,263.41       1,487.26    1,487.26           0.00

     75    FALVEY LINEN AND UNIFORM       7100-000    N/A               494.54      494.54           0.00

     76    BALANCE STAFFING SVC INC       7100-000     9,015.38      N/A               N/A           0.00

     77U-2 SMITH PIPE & STEEL COMPANY     7100-000   224,693.79      23,702.04   23,702.04           0.00

     78    SOUTHERN METALS                7100-000    20,063.04      20,063.04   20,063.04           0.00

     79    MARION DAVIS INC               7100-000     1,945.53       2,836.20    2,836.20           0.00

     81    JSJ LLC                        7100-000          417.00    1,692.87    1,692.87           0.00

     82    HANDLING SYSTEMS INC           7100-000    15,173.00      15,173.00   15,173.00           0.00

     83    SOUTH ATLANTIC STEEL INC       7100-000    12,980.84      15,934.27   15,934.27           0.00

     84    NAMASCO                        7100-000     8,736.16      12,209.15   12,209.15           0.00


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     86    AUSTIN HARDWARE AND SUPPLY     7100-000    N/A               439.12      439.12         0.00

     87    USS HOLDINGS LLC               7100-000    N/A             1,784.72    1,784.72         0.00

     88    MACSTEEL SERVICE CENTERS       7100-000    16,123.31      16,149.31   16,149.31         0.00

     89    SHEBOYGAN PAINT COMPANY        7100-000     4,552.96       3,863.75    3,863.75         0.00

     90U   NORTH CAROLINA DEPARTMENT OF 7100-000      N/A            16,431.74   16,431.74         0.00
           REVENUE
     93    NMHG FINANCIAL SERVICES      7100-000       6,621.42      15,645.90   15,645.90         0.00

     94    BULLDOG NATIONAL LOGISTICS     7100-000    N/A             2,225.00    2,225.00         0.00
           LLC
     95    WARDLAW TRUCKING INC           7100-000    11,450.00      12,350.00   12,350.00         0.00

     96    SCREEN ART ADVERTISING INC     7100-000     3,449.02       3,449.02    3,449.02         0.00

     98    BUDDY MOORE TRUCKING           7100-000     1,490.00       1,490.00    1,490.00         0.00

     99    PIEDMONT FORKLIFT INC          7100-000     5,104.34       5,359.34    5,359.34         0.00

    100U   PPG ARCHITECTURAL FINISHES     7100-000    64,060.08      29,352.95   29,352.95         0.00
           INC
    101U   ARIZONIA DEPT OF REVENUE       7100-000    N/A            21,591.32   21,591.32         0.00

    102    AMERICAN EAGLE STEEL CORP      7100-000    40,244.83      61,782.74   61,782.74         0.00

    103    ALLEN BROWNING                 7100-000    N/A               550.00      550.00         0.00

    104U-3 INTERNAL REVENUE SERVICE       7100-000    N/A               890.95      890.95         0.00

    105U   Florida Department of          7100-000    N/A             1,663.03    1,663.03         0.00
           Revenue
    107    FORT HILL NATURAL GAS          7100-000     4,740.79       2,160.67    2,160.67         0.00

    108    EAGLE BRIDGES CO INC           7100-000     3,528.75       3,528.75    3,528.75         0.00

    109    4PLEX LOGISTICS LLC            7100-000    14,286.65      20,463.10   20,463.10         0.00

    110    STATE OF LOUISIANA             7100-000    N/A             1,069.88    1,069.88         0.00

    114    FEDEX CUSTOMER INFORMATION     7100-000    N/A               429.38      429.38         0.00
           SERVICE
    115U   TENNESSEE DEPT OF REVENUE      7100-000    N/A               763.21      763.21         0.00

    116    AMERICAN JANITORIAL SUPPLY     7100-000          848.00      848.00      848.00         0.00

    118    TOYOTALIFE OF ARIZONIA         7100-000     1,675.88       1,962.24    1,962.24         0.00

    119    HARTFORD FIRE INSURANCE        7100-000    23,938.68      23,902.64   23,902.64         0.00
           COMPANY
    120    LAWSON STEEL INC               7100-000    59,121.60      73,279.06   73,279.06         0.00

    121    Sprint Bankruptcy              7100-000    N/A               722.55      722.55         0.00

    122    CAR INDUSTIES OF GEORGIA       7100-000    N/A               192.50      192.50         0.00
           II,LLC.
    123    THE PERMITE CORPORATION        7100-000    21,236.15      19,663.54   19,663.54         0.00

    124    Toyota Motor Credit Corp       7100-000    N/A            18,955.93   18,955.93         0.00

    125    Toyota Motor Credit Corp       7100-000    N/A             4,246.48    4,246.48         0.00

    126    Toyota Motor Credit Corp       7100-000    31,658.14      36,591.77   36,591.77         0.00

    127    Toyota Motor Credit Corp       7100-000    N/A            20,800.90   20,800.90         0.00

    128    SOUTHEAST INDUSTRIAL           7100-000    15,771.75         816.58      816.58         0.00
           EQUIPMENT

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    129    GREENVILLE OFFICE SUPPLY      7100-000     2,251.48        1,588.86     1,588.86         0.00

    130    Howard Steel Inc.             7100-000     9,070.34       10,519.90    10,519.90         0.00

    131    PRT                           7100-000    73,996.98       73,996.98    73,996.98         0.00

    132    MID WEST MATERIALS, INC.      7100-000    51,511.06      337,781.86   337,781.86         0.00

    134    FALVEY LINEN AND UNIFORM      7100-000    N/A             N/A               0.00         0.00

    135    NUVOX COMMUNICATIONS          7100-000          599.36       552.22       552.22         0.00

    136    NUVOX COMMUNICATIONS          7100-000    N/A                395.34       395.34         0.00

    137    MKS SERVICES LLC              7100-000    23,975.00       18,275.00    18,275.00         0.00

    138    AIRGAS                        7100-000    N/A             23,374.34    23,374.34         0.00

    139    FERRELLGAS                    7100-000     1,847.38        2,465.60     2,465.60         0.00

    140    COMEQ INC                     7100-000          311.32    N/A           2,360.84         0.00

    141U   State of Maine Bureau or     7100-000     N/A                177.00       177.00         0.00
           Revenue Services
    142    SOULE BLAKE AND WECHSLER INC 7100-000      6,459.50       12,377.14    12,377.14         0.00

    143    Grinding, Equipment, &        7100-000    N/A              4,733.00     4,733.00         0.00
           Tooling, Inc.
    144U   INTERNAL REVENUE SERVICE      7100-000    N/A                890.95       890.95         0.00

    145U   South Carolina Department of 7100-000     N/A              1,503.12     1,503.12         0.00
           Reveune
    146U   FASTENAL COMPANY             7100-000     12,980.88       12,456.05    12,456.05         0.00

    147    TIM GENTRY                    7100-000            0.00    N/A              N/A           0.00

    148    Greater Bay Capital, a      7100-000       3,599.86      102,597.30   102,597.30         0.00
           division of Greater Bay Ban
    150    ADVANCE STEEL CO            7100-000      68,123.25       68,123.25    68,123.25         0.00

    151    VORTEX INDUSTRIES INC         7100-000     1,734.77        1,734.77     1,734.77         0.00

    152    PRIMARY STEEL TULARE          7100-000    18,362.26       19,517.26    19,517.26         0.00
           DIVISION
    153    WAUSAU BUSINESS INSURANCE     7100-000    N/A             N/A               0.00         0.00
           COMPANY
    154    CERTIFIED STEEL COMPANY       7100-000   225,500.61      287,175.56   287,175.56         0.00

    155    FW INVESTMENTS                7100-000    17,947.61      118,514.08   118,514.08         0.00

    156U   GEORGIA, DEPARTMENT OF      7100-000      N/A             22,064.12    22,064.12         0.00
           REVENUE
    157    SUMMIT HANDLING SYSTEMS INC 7100-000            410.06       410.06       410.06         0.00

    158    EASTERN CHEM-LAC CORPORATION 7100-000     43,376.10       46,084.46    46,084.46         0.00

    159    VALLEY GAS AND GEAR LLC       7100-000    26,861.15       32,374.69    32,374.69         0.00

    160    TRANS-SYSTEM LOGISTICS LLC    7100-000     2,950.00        2,950.00     2,950.00         0.00

    162    GRIFFIN AND GORDON            7100-000   201,026.25      202,517.65   202,517.65         0.00
           CONTAINERS COMPANY LLC
    163    MID AMERICAN STEEL            7100-000    87,172.88      110,825.37   110,825.37         0.00

    165    MCNAUGHTON MCKAY              7100-000    N/A             44,819.98    44,819.98         0.00

    166    GENERAL TRANSPORTATION SERV 7100-000      N/A              8,500.00     8,500.00         0.00
           IN
    167    ANDERSON TRANS AND LOGISTICS 7100-000     N/A             28,125.20    28,125.20         0.00


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     169    ULINE                          7100-000    N/A                356.54       356.54         0.00

     170    SOUTH ATLANTIC STEEL INC       7100-000    N/A             15,934.27    15,934.27         0.00

     171    CONNECTICUT DEPARTMENT OF      7100-000    N/A            123,672.68   123,672.68         0.00
            REVENUE SERVICES
     172    RAMSEY WELDING SUPPLY INC      7100-000    N/A              2,525.36     2,525.36         0.00

     173    ROSENBOOM MACHINE AND TOOL     7100-000    N/A             22,896.72    22,896.72         0.00

     174    USS HOLDINGS LLC               7100-000    N/A              1,156.21     1,156.21         0.00

     175    RDJ SERVICES INC               7100-000    N/A                650.00       650.00         0.00

     176    COMBINED UTILITIES             7100-000    N/A              2,294.91     2,294.91         0.00

     178    HODGE PRODUCTS INC             7100-000     1,310.78        5,718.95     5,718.95         0.00

     179    STATE OF ALABAMA               7100-000    N/A             N/A               0.00         0.00

     181    MYLES TRUCKING INC             7100-000     2,500.00        2,500.00     2,500.00         0.00

     182    GEORGE B CHANDLER              7100-000    N/A             N/A               0.00         0.00

     183    CHARLES CLARK                  7100-000            0.00    10,000.00    10,000.00         0.00

     184    ALLEN-ORTON LLC                7100-000    N/A              9,478.66     9,478.66         0.00

     185    MACSTEEL SERVICE CENTERS       7100-000    N/A             16,149.31    16,149.31         0.00

     186    CASA FIRE PROTECTION INC       7100-000          210.53       210.53       210.53         0.00

     187U   Mississippi State Tax       7100-000       N/A              4,721.00     4,721.00         0.00
            Commission
 NOTFILED   A AND M HEATING AND COOLING 7100-000       12,221.80       N/A              N/A           0.00

 NOTFILED   A E ROSICA AND CO INC          7100-000    35,128.11       N/A              N/A           0.00

 NOTFILED   A-1 HYDRAULIC SERVICE INC      7100-000          258.00    N/A              N/A           0.00

 NOTFILED   A-1 RAGS                       7100-000           59.46    N/A              N/A           0.00

 NOTFILED   ABCO DISTRIBUTORS INC          7100-000     2,823.85       N/A              N/A           0.00

 NOTFILED   ADVANCED BUSINESS CAPITAL      7100-000          250.00    N/A              N/A           0.00
            LLC
 NOTFILED   AFAB CONTAINER CORP            7100-000     1,550.00       N/A              N/A           0.00

 NOTFILED   AFLAC REMITTANCE PROCESSING 7100-000        2,580.00       N/A              N/A           0.00

 NOTFILED   AIRTEK                         7100-000            0.50    N/A              N/A           0.00

 NOTFILED   ALLEGHENY STEEL DISTRIBUTORS 7100-000            596.71    N/A              N/A           0.00

 NOTFILED   ALLIED WASTE                   7100-000     1,653.06       N/A              N/A           0.00

 NOTFILED   ARI-CAL LOGISTICS LLC          7100-000    10,111.00       N/A              N/A           0.00

 NOTFILED   BALDOR ELECTRIC COMPANY        7100-000     7,195.72       N/A              N/A           0.00

 NOTFILED   BAPTIST UPSTATE PHYSICIANS     7100-000     1,021.00       N/A              N/A           0.00

 NOTFILED   BEARING BELT AND CHAIN INC     7100-000          139.20    N/A              N/A           0.00

 NOTFILED   BRENT BRYSON                   7100-000          600.60    N/A              N/A           0.00

 NOTFILED   CINTAS CORP 216                7100-000     1,178.64       N/A              N/A           0.00

 NOTFILED   CO2 DIRECT                     7100-000    16,771.19       N/A              N/A           0.00


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 NOTFILED   COMMERCIAL COLLECTION          7100-000    16,050.00     N/A                N/A           0.00
            CONSULTANTS
 NOTFILED   COMPACTORGUY                   7100-000       389.00     N/A                N/A           0.00

 NOTFILED   COMPLETE LANDSCAPING           7100-000       196.10     N/A                N/A           0.00

 NOTFILED   COMPUTER CONNECTION            7100-000     1,053.98     N/A                N/A           0.00

 NOTFILED   CONTAINER REPAIR SERVICE       7100-000       192.50     N/A                N/A           0.00

 NOTFILED   CORPORATE BILLING INC          7100-000       500.00     N/A                N/A           0.00
            SUBSIDIARY FIRST AMERICAN
 NOTFILED   CSI INC C/O AR FUNDING         7100-000     9,490.71     N/A                N/A           0.00

 NOTFILED   D AND J HAULING                7100-000     6,250.00     N/A                N/A           0.00

 NOTFILED   D H GRIFFIN WRECKING CO        7100-000       469.83     N/A                N/A           0.00

 NOTFILED   DAYSTAR AND COMPANY TRUCKING 7100-000       3,635.00     N/A                N/A           0.00

 NOTFILED   DEX LOGISTICS INC              7100-000       775.00     N/A                N/A           0.00

 NOTFILED   EAST COAST CONTAINER LLC       7100-000     8,500.00     N/A                N/A           0.00

 NOTFILED   FABRICATING MACHINERY SALES 7100-000        6,808.50     N/A                N/A           0.00

 NOTFILED   FLOYDS BOLT AND SCREW INC      7100-000     2,067.46     N/A                N/A           0.00

 NOTFILED   FMC ENERGY SYSTEMS             7100-000     7,370.00     N/A                N/A           0.00

 NOTFILED   FORREST ANDERSON PLUMBING      7100-000       400.00     N/A                N/A           0.00

 NOTFILED   FRAZEE INDUSTRIES INC          7100-000     5,093.73     N/A                N/A           0.00

 NOTFILED   FREEMAN GAS                    7100-000     5,148.50     N/A                N/A           0.00

 NOTFILED   GENERAL PURPOSE STEEL INC      7100-000     7,696.84     N/A                N/A           0.00

 NOTFILED   GLASSRATNER ADVISORY AND     7100-000       9,500.00     N/A                N/A           0.00
            CAPITAL LLC
 NOTFILED   GREGORY G MCGILL PC ATTORNEY 7100-000      unknown       N/A                N/A           0.00
            AT LAW
 NOTFILED   HOWE-BAKER ENGINEERS LTD     7100-000       3,112.17     N/A                N/A           0.00

 NOTFILED   INDUSTRIAL FLAME CUTTING INC 7100-000       9,578.70     N/A                N/A           0.00

 NOTFILED   INDUSTRIAL LAND MANAGEMENT 7100-000        58,150.00     N/A                N/A           0.00
            LLC
 NOTFILED   INDUSTRIAL METALS AND       7100-000       66,236.44     N/A                N/A           0.00
            SURPLUS
 NOTFILED   INDUSTRIAL MOTOR SEVICE INC 7100-000          485.70     N/A                N/A           0.00

 NOTFILED   INTERSTATE CAPITAL CORP        7100-000     2,225.00     N/A                N/A           0.00

 NOTFILED   JERRY SPAYDE                   7100-000       860.02     N/A                N/A           0.00

 NOTFILED   JERVEY EYE GROUP PA            7100-000       362.00     N/A                N/A           0.00

 NOTFILED   JONES MOTOR COMPANY INC        7100-000       550.00     N/A                N/A           0.00

 NOTFILED   JONES MOTOR LOGISTICS INC      7100-000     1,200.00     N/A                N/A           0.00

 NOTFILED   LENZ CORPORATION               7100-000     3,668.33     N/A                N/A           0.00

 NOTFILED   LINCOLN SERVICE AND EQUIP CO 7100-000       1,979.49     N/A                N/A           0.00

 NOTFILED   LOGIC FREIGHT SOLUTIONS        7100-000     5,000.00     N/A                N/A           0.00

 NOTFILED   MANTEK                         7100-000       545.67     N/A                N/A           0.00


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 NOTFILED   MARGARET CAUTHEN               7100-000    10,000.00     N/A                N/A           0.00

 NOTFILED   MARQUETTE FUNDING INC          7100-000     2,600.00     N/A                N/A           0.00

 NOTFILED   MARVEL MFG COMPANY INC         7100-000     2,145.40     N/A                N/A           0.00

 NOTFILED   MASON AND DIXON LINES INC      7100-000    22,411.00     N/A                N/A           0.00

 NOTFILED   MATERIALS HANDLING SOLUTIONS 7100-000       3,550.82     N/A                N/A           0.00

 NOTFILED   MATTHEW M CONKLIN MD PC        7100-000       598.00     N/A                N/A           0.00

 NOTFILED   MCMASTER CARR SUPPLY CO        7100-000       399.30     N/A                N/A           0.00

 NOTFILED   MECO OF GREENVILLE             7100-000        58.76     N/A                N/A           0.00

 NOTFILED   METARIS CORPORATION            7100-000     6,599.98     N/A                N/A           0.00

 NOTFILED   MOORE AND BALLIEW OIL CO INC 7100-000       6,885.55     N/A                N/A           0.00

 NOTFILED   NASH AND POWERS INSURANCE      7100-000    75,072.00     N/A                N/A           0.00

 NOTFILED   NATIONAL WELDERS               7100-000    22,587.83     N/A                N/A           0.00

 NOTFILED   NEW ENGLAND INDUSTRIAL      7100-000        1,915.67     N/A                N/A           0.00
            SUPPLY
 NOTFILED   NORTH VALLEY SURGERY CENTER 7100-000        3,975.00     N/A                N/A           0.00

 NOTFILED   NORTHEAST UTILITIES            7100-000     5,912.31     N/A                N/A           0.00

 NOTFILED   NORTHERN TOOL AND EQUIPMENT 7100-000          697.33     N/A                N/A           0.00
            HSBC BUSINESS SOLUTION
 NOTFILED   O PREMIUM WATERS            7100-000          213.38     N/A                N/A           0.00

 NOTFILED   OCCUPATIONAL HEALTHCENTERS     7100-000       995.86     N/A                N/A           0.00
            OF SW
 NOTFILED   ONEAL STEEL INC                7100-000   285,977.17     N/A                N/A           0.00

 NOTFILED   PARKER INDUSTRIES INC          7100-000     1,140.00     N/A                N/A           0.00

 NOTFILED   PENTON BUSINESS MEDIA          7100-000     2,750.00     N/A                N/A           0.00

 NOTFILED   PLUMMER AND ASSOCIATES         7100-000    12,810.36     N/A                N/A           0.00

 NOTFILED   RAY AND SHERI TRUCKING LLC     7100-000    27,816.50     N/A                N/A           0.00

 NOTFILED   ROBERT COLMAN TRUST            7100-000    89,500.00     N/A                N/A           0.00

 NOTFILED   RONALD J MCCRACKEN             7100-000   164,839.03     N/A                N/A           0.00

 NOTFILED   RONALD J MCCRACKEN             7100-000    89,151.00     N/A                N/A           0.00

 NOTFILED   RONALD J MCCRACKEN             7100-000   458,798.00     N/A                N/A           0.00

 NOTFILED   SERIO-US INDUSTRIES            7100-000     3,596.48     N/A                N/A           0.00

 NOTFILED   SHERWIN WILLIAMS               7100-000       220.80     N/A                N/A           0.00

 NOTFILED   SOLOW STEEL                    7100-000    61,724.34     N/A                N/A           0.00

 NOTFILED   SOUTHWEST FASTENER             7100-000     3,560.70     N/A                N/A           0.00

 NOTFILED   STRETCH ASSOCIATES INC         7100-000       146.59     N/A                N/A           0.00

 NOTFILED   TANDEM TRANSPORT CORP          7100-000       910.00     N/A                N/A           0.00

 NOTFILED   THE HIRING AUTHORITY INC       7100-000    10,503.04     N/A                N/A           0.00

 NOTFILED   TIMBERLINE TRANSPORT           7100-000     1,850.00     N/A                N/A           0.00


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 NOTFILED   TMT INC                      7100-000       3,760.00      N/A                N/A           0.00

 NOTFILED   TOP ECHELON CONTRACTING INC 7100-000        4,624.38      N/A                N/A           0.00

 NOTFILED   TPM                          7100-000       1,220.76      N/A                N/A           0.00

 NOTFILED   US MEDGROUP PA               7100-000         775.56      N/A                N/A           0.00

 NOTFILED   USEDGE                       7100-000         550.00      N/A                N/A           0.00

 NOTFILED   WAL-MART PHAR SC             7100-000         189.30      N/A                N/A           0.00

 NOTFILED   WATSON-HEGNER                7100-000       1,848.95      N/A                N/A           0.00

 NOTFILED   YANKTON FACTORING INC        7100-000         800.00      N/A                N/A           0.00

 NOTFILED   AJ WASTE SYSTEMS LLC         7100-000         478.29      N/A                N/A           0.00

 TOTAL GENERAL UNSECURED                            4,470,491.04   3,767,081.49   3,769,442.33         0.00
 CLAIMS




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                                     Individual Estate Property Record and Report
                                                      Asset Cases
Case Number: 07-04276-JW                                                  Trustee:         (600020)    JOHN K FORT
Case Name:      RJM WASTE EQUIPMENT COMPANY                               Filed (f) or Converted (c): 12/13/07 (c)
                                                                          §341(a) Meeting Date:        01/29/08
Period Ending: 04/26/11                                                   Claims Bar Date:             04/28/08

                           1                               2                         3                      4              5                   6

                    Asset Description                    Petition/          Estimated Net Value         Property      Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)      Unscheduled     (Value Determined By Trustee,   Abandoned      Received by      Administered (FA)/
                                                          Values          Less Liens, Exemptions,      OA=§554(a)      the Estate       Gross Value of
Ref. #                                                                        and Other Costs)         DA=§554(c)                      Remaining Assets

 1       VOID                                                   0.00                          0.00        DA                    0.00                    FA
          AMENDED. SEE ASSET #14.

 2       VOID                                                   0.00                          0.00        DA                    0.00                    FA
          AMENDED. SEE ASSET #15.

 3       VOID                                                   0.00                          0.00        DA                    0.00                    FA
          AMENDED. SEE ASSET #20

 4       OTHER CONTINGENT & UNLIQUIDATED CLAIMS            12,508.00                     12,508.00        DA                    0.00                    FA
          HMB STEEL - SEIZURE OF CK - 5/18/07.
         UNCOLLECTIBLE.

 5       OTHER CONTINGENT & UNLIQUIDATED CLAIMS           227,572.00                          0.00                              0.00                    FA
          WACHOVIA - SEIZURE OF A/R. SEE ASSET #43.

 6       OTHER CONTINGENT & UNLIQUIDATED CLAIMS           216,745.00                          0.00                              0.00                    FA
          WACHOVIA - NSF CHARGES - 1/05 TO 4/07. SEE
         ASSET #43.

 7       OTHER CONTINGENT & UNLIQUIDATED CLAIMS             3,906.00                          0.00                              0.00                    FA
          WACHOVIA - SERVICE FEES - 5/9/07. SEE
         ASSET #43.

 8       COPYRIGHT - MIGHTY MAC TRADEMARK                       1.00                          1.00        DA                    0.00                    FA

 9       VEHICLES - SEE LIST ATTACHED AS B-29               2,500.00                          0.00        OA                    0.00                    FA

10       OFFICE EQUIPMENT - SEE LIST ATTACHED AS            8,500.00                          0.00        OA                    0.00                    FA
         B-29

11       MACHINERY, FIXTURES, AND BUSINESS                329,650.00                          0.00        OA                    0.00                    FA
         EQUIPMENT

12       INVENTORY                                        303,344.00                          0.00        OA                    0.00                    FA

13       BANK OF AMERICA                                        0.00                          0.00        DA                    0.00                    FA

14       SECURITY DEPOSITS                                 28,126.00                          0.00        DA                    0.00                    FA
          OFFSET BY VENDORS

15       ACCOUNTS RECEIVABLE                              721,303.00                          0.00        OA                    0.00                    FA

16       LIQUIDATED DEBTS OWING DEBTOR                     16,952.00                     16,952.00        DA                    0.00                    FA
          COMMERCIAL COLLECTION CORP -
         COLLECTED A DEBT FOR RJM BUT FAILED TO
         REMIT THE BALANCE. UNCOLLECTIBLE.


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                                     Individual Estate Property Record and Report
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Case Number: 07-04276-JW                                                 Trustee:        (600020)     JOHN K FORT
Case Name:       RJM WASTE EQUIPMENT COMPANY                             Filed (f) or Converted (c): 12/13/07 (c)
                                                                         §341(a) Meeting Date:        01/29/08
Period Ending: 04/26/11                                                  Claims Bar Date:             04/28/08

                           1                              2                         3                      4              5                   6

                    Asset Description                   Petition/          Estimated Net Value         Property      Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)     Unscheduled     (Value Determined By Trustee,   Abandoned      Received by      Administered (FA)/
                                                         Values          Less Liens, Exemptions,      OA=§554(a)      the Estate       Gross Value of
Ref. #                                                                       and Other Costs)         DA=§554(c)                      Remaining Assets

17       LIQUIDATED DEBTS OWING DEBTOR                     1,698.00                     1,698.00         DA                    0.00                    FA
           MIDAMERICAN STEEL - OVERPAYMENT FOR
         COD DELIVERY. UNCOLLECTIBLE.

18       LIQUIDATED DEBTS OWING DEBTOR                     3,000.00                     3,000.00                           2,300.00                    FA
           NATIONAL WELDERS SUPPLY

19       VOID                                                  0.00                        0.00          DA                    0.00                    FA
           DUPLICATE OF ASSET #4

20       RJM WASTE EQUIPMENT COMPANY VS ROBERT           301,588.00                 301,588.00           DA                    0.00                    FA
         BRENT
           2007-CP-39-1125 IN PICKENS COURT OF
         COMMON PLEAS. NO CHANCE OF COLLECTING.

21       VOID                                                  0.00                        0.00          DA                    0.00                    FA
           DUPLICATE OF ASSET #6

22       VOID                                                  0.00                        0.00          DA                    0.00                    FA
           DUPLICATE OF ASSET #5

23       VOID                                                  0.00                        0.00          DA                    0.00                    FA
           DUPLICATE OF ASSET #7

24       VOID                                                  0.00                        0.00          DA                    0.00                    FA
           DUPLICATE OF ASSET #8

25       VOID                                                  0.00                        0.00          DA                    0.00                    FA
           DUPLICATE OF ASSET #9

26       VOID                                                  0.00                        0.00          DA                    0.00                    FA
           DUPLICATE OF ASSET #10

27       VOID                                                  0.00                        0.00          DA                    0.00                    FA
           DUPLICATE OF ASSET #11

28       VOID                                                  0.00                        0.00          DA                    0.00                    FA
           DUPLICATE OF ASSET #12

29       WEBSITE: WWW.RJMMFG.COM                               0.00                        0.00          DA                    0.00                    FA

30       OTHER CONTINGENT & UNLIQUIDATED CLAIMS            Unknown                         0.00          DA                    0.00                    FA
         (u)
           BRENT AND KIM BRYSON - BRENT INVOLVED IN
         EMBEZZLEMENT. KIM POSSIBLE CLAIM:
         ALLEGEDLY RECEIVED AND USED PROCEEDS


                                                                                                                    Printed: 04/26/2011 03:16 PM    V.12.56
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                                     Individual Estate Property Record and Report
                                                      Asset Cases
Case Number: 07-04276-JW                                                Trustee:       (600020)      JOHN K FORT
Case Name:       RJM WASTE EQUIPMENT COMPANY                            Filed (f) or Converted (c): 12/13/07 (c)
                                                                        §341(a) Meeting Date:        01/29/08
Period Ending: 04/26/11                                                 Claims Bar Date:             04/28/08

                           1                              2                        3                      4              5                   6

                    Asset Description                   Petition/         Estimated Net Value         Property      Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)     Unscheduled    (Value Determined By Trustee,   Abandoned      Received by      Administered (FA)/
                                                         Values         Less Liens, Exemptions,      OA=§554(a)      the Estate       Gross Value of
Ref. #                                                                      and Other Costs)         DA=§554(c)                      Remaining Assets

31       OTHER CONTINGENT & UNLIQUIDATED CLAIMS            Unknown                       0.00           DA                    0.00                    FA
         (u)
           CALVARY HILL BAPTIST CHURCH - MAY HAVE
         RECEIVED PROCEEDS FROM EMBEZZLEMENT

32       OTHER CONTINGENT & UNLIQUIDATED CLAIMS            Unknown                       0.00           DA                    0.00                    FA
         (u)
           CORNERSTONE BANK - RECEIVED WIRE
         TRANSFERS INVOLVED IN EMBEZZLEMENT

33       OTHER CONTINGENT & UNLIQUIDATED CLAIMS            Unknown                       0.00           DA                    0.00                    FA
         (u)
           WACHOVIA BANK - TRANSFERRED AND
         RECEIVED WIRES INVOLVED IN EMBEZZLEMENT.
         SEE ASSET #43.

34       OTHER CONTINGENT & UNLIQUIDATED CLAIMS            Unknown                       0.00           DA                    0.00                    FA
         (u)
           WACHOVIA BANK - LIQUIDATION OF OVER 225K
         OF RJM DEPOSITS ON OR ABOUT 4/30/07. SEE
         ASSET #43.

35       OTHER CONTINGENT & UNLIQUIDATED CLAIMS            Unknown                       0.00           DA                    0.00                    FA
         (u)
           GOSNELL MENARD & BROOKS CPAS, PA -
         OUTSIDE INDEPENDENT AUDITORS - PROVIDED
         AUDIT SERVICES TO RJM FOR YEARS 2003-2006

36       OTHER CONTINGENT & UNLIQUIDATED CLAIMS            Unknown                       0.00           DA                    0.00                    FA
         (u)
           ISLAND FOREST ENTERPRISES, LLC - OUTSIDE
         CONSULTANTS - PROVIDED COMPREHENSIVE
         CONSULTING SERVICES, BUDGETS, CASH
         MANAGEMENT TO RJM

37       OTHER CONTINGENT & UNLIQUIDATED CLAIMS            Unknown                       0.00           DA                    0.00                    FA
         (u)
           GLASSRATNER ADVISORY & CAPITAL GROUP,
         LLC - OUTSIDE CONSULTANTS-PROVIDED
         COMPREHENSIVE CONSULTING SERVICES,
         BUTGETS, CASH MANAGEMENT TO RJM



                                                                                                                   Printed: 04/26/2011 03:16 PM    V.12.56
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                                        Individual Estate Property Record and Report
                                                         Asset Cases
Case Number: 07-04276-JW                                                      Trustee:         (600020)    JOHN K FORT
Case Name:          RJM WASTE EQUIPMENT COMPANY                               Filed (f) or Converted (c): 12/13/07 (c)
                                                                              §341(a) Meeting Date:        01/29/08
Period Ending: 04/26/11                                                       Claims Bar Date:             04/28/08

                              1                                2                         3                      4              5                   6

                    Asset Description                       Petition/           Estimated Net Value         Property      Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)         Unscheduled      (Value Determined By Trustee,   Abandoned      Received by      Administered (FA)/
                                                             Values           Less Liens, Exemptions,      OA=§554(a)      the Estate       Gross Value of
Ref. #                                                                            and Other Costs)         DA=§554(c)                      Remaining Assets

38       OTHER CONTINGENT & UNLIQUIDATED CLAIMS                Unknown                            0.00        DA                    0.00                    FA
         (u)
           AURORA MANAGEMENT PARTNERS - OUTSIDE
         CONSULTANTS-PROVIDED RJM
         COMPREHENSIVE CONSULTING SERVICES,
         BUDGETS, CASH MANAGEMENT FROM 9/7/06 TO
         10/11/06

39       OTHER CONTINGENT & UNLIQUIDATED CLAIMS                Unknown                            0.00        DA                    0.00                    FA
         (u)
           EXECUTIVE SOUNDING BOARD ASOCIATES
         INC-OUTSIDE CONSULTANTS-PROVIDED
         COMPREHENSIVE CONSULTING SERVICES,
         BUDGETS, CASH MANAGEMENT TO RJM

40       OTHER CONTINGENT & UNLIQUIDATED CLAIMS                Unknown                            0.00        DA                    0.00                    FA
         (u)
           LIGHTHOUSE FINANCIAL CORP - FIELD
         AUDITORS EXAMINED RJM'S INVENTORY,
         RECEIVABLES, BOOKS AND RECORDS FROM
         2003 TO 2005, EVERY 60-90 DAYS

41       OTHER CONTINGENT & UNLIQUIDATED CLAIMS                Unknown                            0.00        DA                    0.00                    FA
         (u)
           WELLS FARGO BUSINESS CREDIT - FIELD
         AUDITORS EXAMINED RJM'S INVENTORY,
         RECEIVABLE, BOOKS AND RECORDS FROM 2005
         TO 2008, EVERY 60-90 DAYS

42       MISC REFUNDS (u)                                      Unknown                        9,315.11                          9,670.29                    FA
           REFUND ON UNEARNED INS. PREMIUMS

43       SETTLEMENTS (u)                                       Unknown                       10,000.00                         10,000.00                    FA
           SETTLEMENT PER ORDER DATED 12/2008
         BETWEEN DEBTOR'S PRINCIPAL, WACHOVIA AND
         TRUSTEE. ASSETS # 5, 6, 7, 33 & 34.

44       PREFERENCE/FRAUDULENT TRANSFER (u)                    Unknown                       27,113.54                         27,113.54                    FA
           SMITH PIPE AND STEEL

 Int     INTEREST (u)                                          Unknown                            N/A                              54.96                    FA

 45      Assets       Totals (Excluding unknown values)    $2,177,393.00                 $382,175.65                          $49,138.79                 $0.00


                                                                                                                         Printed: 04/26/2011 03:16 PM    V.12.56
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                                        Individual Estate Property Record and Report
                                                         Asset Cases
Case Number: 07-04276-JW                                                   Trustee:       (600020)      JOHN K FORT
Case Name:       RJM WASTE EQUIPMENT COMPANY                               Filed (f) or Converted (c): 12/13/07 (c)
                                                                           §341(a) Meeting Date:        01/29/08
Period Ending: 04/26/11                                                    Claims Bar Date:             04/28/08

                             1                                2                       3                      4              5                   6

                    Asset Description                       Petition/        Estimated Net Value         Property      Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)         Unscheduled   (Value Determined By Trustee,   Abandoned      Received by      Administered (FA)/
                                                             Values        Less Liens, Exemptions,      OA=§554(a)      the Estate       Gross Value of
Ref. #                                                                         and Other Costs)         DA=§554(c)                      Remaining Assets



     Major Activities Affecting Case Closing:

                7/1/08
                THIS CASE WAS CONVERTED FROM CH 11. IN THE CH 11, THE NORTHERN PLANT WAS SOLD AND THE PROCEEDS PAID TO THE MAJOR SECURED
                CREDITOR. THE TRUSTEE TALKED TO ALL OF THE SECURED CREDITORS EARLY AFTER BEING APPOINTED. IT WAS CLEAR THAT MORE WAS OWED
                ON THE EQUIPMENT THAN IT WAS WORTH. THERE WAS A BUYER FOR THE AZ PLANT BUT SINCE NONE OF THE CREDITORS WOULD AGREE TO A
                CARVE OUT, THERE WAS NOT BENEFIT TO THE ESTATE. AT THE 341 MEETING, THE TRUSTEE ABANDONED ALL "HARD" ASSETS AND DECIDED TO
                FOCUS ON THE CAUSES OF ACTION. SOME PREFERENCE ACTIONS HAVE BEEN IDENTIFIED. DISCUSSIONS HAVE BEGUN WITH AN ATTORNEY TO FILE
                AN ACTION AGAINST THE ACCOUNTANT FOR NOT DISCOVERING MONEY HAD BEEN EMBEZZLED. THERE IS ALSO A POTENTIAL ACTION AGAINST ONE
                OF THE BANKS FOR EXCESS FEES.


                7/1/09
                IN DECEMBER 2008, A SETTLEMENT WAS REACHED BETWEEN THE TRUSTEE, WACHOVIA AND DEBTOR'S PRINCIPAL. A FRAUDULENT TRANSFER WAS
                RECOVERED FROM A CREDITOR THAT FILED A MOTION FOR APPROVAL OF AN ADMINISTRATIVE CLAIM. THE ONLY CLAIM LISTED THAT SEEMS TO
                HAVE VALUE IS THE ONE AGAINST THE CPAS BUT W. POWELL REVIEWED AND SAID NOT TO PURSUE. THE PRINCIPAL NOW STANDS IN THE SHOES OF
                WACHOVIA AND HAS HAD THEIR CLAIM ASSIGNED TO HIM. STANDING IN THE SHOES OF WACHOVIA, THE PRINCIAL DEMANDED RETURN OF THE
                INSURANCE REFUNDS AS A GENERAL INTANGILBE UNDER THEIR SECURITY AGREEMENT. AN AGREEMENT HAS BEEN REACHED AND NOTICED
                WHERE BY THE ESTATE KEEPS THE REFUND AND ALL UNADMINISTERED ASSETS ARE ASSIGNED TO THE PRINCIPAL. TRUSTEE WILL APPOINT AN
                ACCOUNTANT TO PREPARE TAX RETURNS AND POC WILL BE REVIEWED. TRUSTEE WILL MOVE TO CLOSE ONCE SETTLEMENT ORDER IS ENTERED
                AND TAX RETURNS ARE FILED.


                7/1/10
                THE SETTLEMENT ORDER HAS BEEN ENTERED. ALL ASSETS HAVE BEEN ADMINISTERED OR ABANDONED. ACCOUNTANT EMPLOYED AND TAX
                RETURNS FILED. TRUSTEE IS IN THE PROCESS OF REVIEWING CLAIMS WHICH ARE NUMEROUS. OBJECTIONS WILL BE FILED IF NECESSARY. IF A
                CLAIMS ORDER IS EXPTECTED, TRUSTEE WILL MOVE TO CLOSE ONCE IT IS ENTERED.


                11/29/10
                UPON FINAL REVIEW OF THE POC, THE TRUSTEE DETERMINED THAT THE CLAIM OF WELLS FARGO PER THE FINAL ORDER AUTHORIZING DEBTOR TO
                OBTAIN POST-PETITION FINANCING FILED ON SEPTEMBER 13, 2007 IS A SUPERPRIORITY CLAIM WHICH HAS PRIORITY OVER ALL CLAIMS EXCEPT FOR
                THE CHAPTER 7 ADMIN CLAIMS. THE CLAIM WAS ASSIGNEDTO THE PRINCIPAL OF THE DEBTOR, RONALD MCCRACKEN, FROM WELLS FARGO ON
                JUNE 10, 2009. DOCUMENTATION WAS OBTAINED FROM MR. MCCRACKEN INDICATES THAT THE CLAIM AMOUNT IS APPROX. $201,000.00. THIS
                DOCUMENTATION WILL BE FILED WITH THE TRUSTEE'S FINAL REPORT AS AN EXHIBIT. THIS CLAIM WILL EXHAUST THE REMAINING FUNDS. ALL
                ASSETS HAVE BEEN ABANDONED OR ADMINISTERED. TRUSTEE IS MOVING TO CLOSE.




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                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 07-04276-JW                                                       Trustee:       (600020)      JOHN K FORT
Case Name:       RJM WASTE EQUIPMENT COMPANY                                   Filed (f) or Converted (c): 12/13/07 (c)
                                                                               §341(a) Meeting Date:        01/29/08
Period Ending: 04/26/11                                                        Claims Bar Date:             04/28/08

                              1                                     2                     3                       4                    5                   6

                    Asset Description                           Petition/        Estimated Net Value          Property            Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)             Unscheduled   (Value Determined By Trustee,    Abandoned            Received by      Administered (FA)/
                                                                 Values        Less Liens, Exemptions,       OA=§554(a)            the Estate       Gross Value of
Ref. #                                                                             and Other Costs)          DA=§554(c)                            Remaining Assets

     Initial Projected Date Of Final Report (TFR):   December 31, 2009           Current Projected Date Of Final Report (TFR):       December 17, 2010 (Actual)




                                                                                                                                 Printed: 04/26/2011 03:16 PM     V.12.56
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                                                        Cash Receipts And Disbursements Record
Case Number:           07-04276-JW                                                               Trustee:            JOHN K FORT (600020)
Case Name:             RJM WASTE EQUIPMENT COMPANY                                               Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                 Account:            ***-*****79-65 - Money Market Account
Taxpayer ID #:         **-***0296                                                                Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 04/26/11                                                                          Separate Bond: N/A

    1            2                           3                                      4                                            5                    6                   7

 Trans.     {Ref #} /                                                                                                        Receipts          Disbursements         Money Market
  Date      Check #             Paid To / Received From             Description of Transaction              T-Code              $                    $              Account Balance
07/07/08       {18}          NATIONAL WELDERS                DEPOSIT REFUND                                 1129-000              2,300.00                                    2,300.00
07/31/08         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.1500%                    1270-000                    0.21                                  2,300.21
08/19/08       {42}          WAUSAU                          REFUND FROM INSURANCE PREMIUM                  1221-000              3,635.11                                    5,935.32
08/29/08         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.1500%                    1270-000                    0.40                                  5,935.72
09/30/08         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.1500%                    1270-000                    0.77                                  5,936.49
10/02/08       {42}          LEO A DRYER, ATTORNEY AT        REFUND OF UNEARNED INSURANCE                   1221-000              5,680.00                                 11,616.49
                             LAW                             PREMIUM
10/30/08       {44}          SMITH PIPE & STEEL              SETTLEMENT ON PREFERENCE.                      1241-000             27,133.54                                 38,750.03
10/31/08         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.1200%                    1270-000                    1.15                               38,751.18
10/31/08       {44}          SMITH PIPE AND STEEL            CORRECT ERROR IN DEPOSIT AMOUNT                1241-000                  -20.00                               38,731.18
11/28/08         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.1000%                    1270-000                    2.86                               38,734.04
12/31/08         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    2.74                               38,736.78
01/21/09       {42}          SUIST, MOORE, SMYTHE &          REIMBURSEMENT OF EXPENSES TO FILE              1221-002                  355.18                               39,091.96
                             MCGEE, PA                       AND SERVE NOTICE
01/30/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    1.58                               39,093.54
02/09/09       {43}          RONALD J MCCRACKEN              SETTLEMENT OF ALL CLAIMS PER ORDER             1249-000             10,000.00                                 49,093.54
                                                             DATED 12/2008.
02/26/09      1001           JOHN K. FORT, TRUSTEE           BOND PREMIUM PAYMENT ON LEDGER                 2300-000                                        77.86          49,015.68
                                                             BALANCE AS OF 02/26/2009 FOR CASE
                                                             #07-04276
02/27/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    1.71                               49,017.39
03/31/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    2.13                               49,019.52
04/30/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    2.00                               49,021.52
05/29/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    1.93                               49,023.45
06/30/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    2.13                               49,025.58
07/31/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    2.06                               49,027.64
08/31/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    2.06                               49,029.70
09/30/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    2.00                               49,031.70
10/30/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    2.00                               49,033.70
11/30/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    2.06                               49,035.76
12/31/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    2.06                               49,037.82
01/29/10         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    1.93                               49,039.75
02/18/10      1002           JOHN K. FORT, TRUSTEE           BOND PREMIUM PAYMENT ON LEDGER                 2300-000                                        55.06          48,984.69
                                                             BALANCE AS OF 12/31/2009 FOR CASE
                                                             #07-04276
02/26/10         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    1.86                               48,986.55
03/02/10         Int         JPMORGAN CHASE BANK, N.A.       Current Interest Rate is 0.0500%               1270-000                    0.19                               48,986.74
03/02/10                     Wire out to BNYM account        Wire out to BNYM account 9200******7965        9999-000            -48,986.74                                       0.00
                                                                                                  Subtotals :                        $132.92              $132.92
{} Asset reference(s)                                                                                                                      Printed: 04/26/2011 03:16 PM        V.12.56
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                                                   Cash Receipts And Disbursements Record
Case Number:         07-04276-JW                                                          Trustee:            JOHN K FORT (600020)
Case Name:           RJM WASTE EQUIPMENT COMPANY                                          Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                          Account:            ***-*****79-65 - Money Market Account
Taxpayer ID #:       **-***0296                                                           Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 04/26/11                                                                   Separate Bond: N/A

    1            2                          3                              4                                              5                    6                   7

 Trans.     {Ref #} /                                                                                                 Receipts         Disbursements          Money Market
  Date      Check #           Paid To / Received From        Description of Transaction              T-Code              $                   $               Account Balance
                           9200******7965

                                                                         ACCOUNT TOTALS                                       132.92                132.92               $0.00
                                                                                Less: Bank Transfers                     -48,986.74                   0.00
                                                                         Subtotal                                         49,119.66                 132.92
                                                                                Less: Payments to Debtors                                             0.00
                                                                         NET Receipts / Disbursements                    $49,119.66                $132.92




{} Asset reference(s)                                                                                                              Printed: 04/26/2011 03:16 PM         V.12.56
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                                                         Cash Receipts And Disbursements Record
Case Number:           07-04276-JW                                                                       Trustee:            JOHN K FORT (600020)
Case Name:             RJM WASTE EQUIPMENT COMPANY                                                       Bank Name:          The Bank of New York Mellon
                                                                                                         Account:            9200-******79-65 - Money Market Account
Taxpayer ID #:         **-***0296                                                                        Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 04/26/11                                                                                  Separate Bond: N/A

    1            2                            3                                           4                                              5                    6                  7

 Trans.     {Ref #} /                                                                                                                Receipts         Disbursements        Money Market
  Date      Check #             Paid To / Received From                 Description of Transaction                  T-Code              $                   $             Account Balance
03/02/10                     Wire in from JPMorgan Chase Bank,   Wire in from JPMorgan Chase Bank, N.A.             9999-000             48,986.74                               48,986.74
                             N.A. account ********7965           account ********7965
03/31/10         Int         The Bank of New York Mellon         Interest posting at 0.0700%                        1270-000                   2.81                              48,989.55
04/30/10         Int         The Bank of New York Mellon         Interest posting at 0.0700%                        1270-000                   2.82                              48,992.37
05/28/10         Int         The Bank of New York Mellon         Interest posting at 0.0700%                        1270-000                   2.91                              48,995.28
06/30/10         Int         The Bank of New York Mellon         Interest posting at 0.0700%                        1270-000                   2.82                              48,998.10
07/30/10         Int         The Bank of New York Mellon         Interest posting at 0.0700%                        1270-000                   2.91                              49,001.01
08/31/10         Int         The Bank of New York Mellon         Interest posting at 0.0700%                        1270-000                   2.91                              49,003.92
09/30/10         Int         The Bank of New York Mellon         Interest posting at 0.0100%                        1270-000                   0.40                              49,004.32
10/29/10         Int         The Bank of New York Mellon         Interest posting at 0.0100%                        1270-000                   0.41                              49,004.73
11/30/10         Int         The Bank of New York Mellon         Interest posting at 0.0100%                        1270-000                   0.40                              49,005.13
12/31/10         Int         The Bank of New York Mellon         Interest posting at 0.0100%                        1270-000                   0.41                              49,005.54
01/26/11         Int         The Bank of New York Mellon         Current Interest Rate is 0.0100%                   1270-000                   0.33                              49,005.87
01/26/11                     To Account #9200******7966          CLOSE OUT MONEY MARKET ACCOUNT.                    9999-000                                  49,005.87                 0.00

                                                                                        ACCOUNT TOTALS                                   49,005.87            49,005.87                $0.00
                                                                                               Less: Bank Transfers                      48,986.74            49,005.87
                                                                                        Subtotal                                              19.13                0.00
                                                                                               Less: Payments to Debtors                                           0.00
                                                                                        NET Receipts / Disbursements                         $19.13               $0.00




{} Asset reference(s)                                                                                                                             Printed: 04/26/2011 03:16 PM        V.12.56
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                                                   Cash Receipts And Disbursements Record
Case Number:         07-04276-JW                                                                   Trustee:            JOHN K FORT (600020)
Case Name:           RJM WASTE EQUIPMENT COMPANY                                                   Bank Name:          The Bank of New York Mellon
                                                                                                   Account:            9200-******79-66 - Checking Account
Taxpayer ID #:       **-***0296                                                                    Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 04/26/11                                                                            Separate Bond: N/A

    1            2                          3                                      4                                               5                     6                    7

 Trans.     {Ref #} /                                                                                                          Receipts        Disbursements               Checking
  Date      Check #           Paid To / Received From              Description of Transaction                 T-Code              $                  $                  Account Balance
01/26/11                   From Account #9200******7965    CLOSE OUT MONEY MARKET ACCOUNT.                    9999-000             49,005.87                                   49,005.87
01/26/11       101         MCABEE, TALBERT, HALLIDAY &     Dividend paid 100.00% on $1,080.00,                3410-000                                       1,080.00          47,925.87
                           CO                              Accountant for Trustee Fees (Other Firm);
                                                           Reference:
01/26/11       102         U. S. Trustee                   Dividend paid 100.00% on $5,000.00, U.S.           2950-000                                       5,000.00          42,925.87
                                                           Trustee Quarterly Fees; Reference:
01/26/11       103         RONALD J MCCRACKEN              Dividend paid 18.03% on $201,000.00,               2990-800                                   36,243.50                6,682.37
                                                           Superpriority Administrative Expenses--§
                                                           364(c)(1) and § 507(b); Reference:
01/26/11       104         JOHN K FORT                     COMBINED CHECK FOR TRUSTEE                                                                        6,682.37                0.00
                                                           COMPENSATION, EXPENSES AND
                                                           INTEREST
                                                              Dividend paid 100.00%             5,628.36      2100-000                                                               0.00
                                                              on $5,628.36; Claim# ;
                                                              Filed: $5,628.36
                                                              Dividend paid 100.00%             1,054.01      2200-000                                                               0.00
                                                              on $1,054.01; Claim# ;
                                                              Filed: $1,054.01

                                                                                 ACCOUNT TOTALS                                    49,005.87             49,005.87                  $0.00
                                                                                        Less: Bank Transfers                       49,005.87                    0.00
                                                                                 Subtotal                                               0.00             49,005.87
                                                                                        Less: Payments to Debtors                                               0.00
                                                                                 NET Receipts / Disbursements                          $0.00            $49,005.87

                           Net Receipts :             49,138.79
        Less Other Noncompensable Items :                355.18                                                                      Net             Net                       Account
                                                  ————————                       TOTAL - ALL ACCOUNTS                              Receipts     Disbursements                  Balances
                                   Net Estate :      $48,783.61
                                                                                 MMA # ***-*****79-65                              49,119.66                  132.92                 0.00
                                                                                 MMA # 9200-******79-65                                19.13                    0.00                 0.00
                                                                                 Checking # 9200-******79-66                            0.00             49,005.87                   0.00

                                                                                                                                  $49,138.79            $49,138.79                  $0.00




{} Asset reference(s)                                                                                                                       Printed: 04/26/2011 03:16 PM           V.12.56
